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VIA ECF

The Honorable Paul G. Gardephe
U.S. District Court

Southern District of New York
500 Pearl Street

New York, NY 10007

Re: Davis v. City of New York, Officer Ocasio, Officer Murphy, et al., 12 Civ. 3297
(PGG)

Dear Judge Gardephe:

As Your Honor knows, Defendant Murphy has filed an appeal of the Court’s
decision granting summary judgment as to liability and submitting the case for trial on
the remaining issue of damages. Part of the decision entailed a finding that Defendant
Murphy, like his co-defendant, was not entitled to qualified immunity. Your Honor held
that, even if his factual claims about the event are accepted, “Murphy is still liable for
excessive force, because the amount of force he used in response to any threat posed by
Plaintiff was unreasonable. For example, the video evidence shows that Murphy
continued to knee Plaintiff after he was bent over with his left hand on the wall for
support. At this point, there was no justification for the continued use of force, because
Plaintiff posed no continuing threat to the officers that justified the use of force.” Order
filed 9/24/18, at 18. Your Honor further noted that the video of the incident plainly
shows Murphy kicking Plaintiff as Plaintiff sat on the ground with his back to a wall,
after which he also slapped Plaintiff. Your Honor concludes as follows: “there is no
genuine issue of material fact as to whether Ocasio and Murphy’s use of force was
objectively unreasonable. They used force that was entirely gratuitous and served no
legitimate purpose.”

The basis of Murphy’s appeal must be your Honor’s decision denying him
qualified immunity. There is no legitimate basis for such an appeal in this case. It is
abundantly clear that Murphy’s actions did not entitle him to qualified immunity. There
is simply no credible argument that his use of force against Plaintiff did “not violate
clearly established statutory or constitutional rights of which a reasonable person would
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have known. “ Harlow v. Fitzgerald, 102 S.Ct. 2727, 2738 (1982). Murphy, together
with defendant Ocasio, brutally and gratuitously, with no law enforcement purpose, beat
Plaintiff, leaving him dazed and bleeding on the ground in an alley. They then walked
back to the precinct from whence they came. Those are the undeniable facts. They
cannot now claim that they believed, even mistakenly, that they had a right to beat
plaintiff as they did. Your Honor made the right decision for the right reasons, a decision
that will certainly be upheld on appeal.

In terms of Defendant Murphy’s right to appeal the Court’s decision, the case law
suggests a negative answer. The decision here turned on the specific facts of this case,
not on an esoteric interpretation of the law. Based on those facts — the beating captured
on video and the obvious lack of any legitimate law enforcement objective by the
defendants — it was clear that the defendants could not avail themselves of qualified
immunity. In such situations, the U.S. Supreme Court in Johnson v. Jones has held that
the final judgment rule precludes interlocutory appeals. “The upshot is that, compared
with Mitchell, considerations of delay, comparative expertise of trial and appellate courts,
and wise use of appellate resources argue in favor of limiting interlocutory appeals of
“qualified immunity” matters to cases presenting more abstract issues of
law. Considering these “competing considerations,” we are persuaded that “[iJmmunity
appeals ... interfere less with the final judgment rule if they [are] limited to cases
presenting neat abstract issues of law.” 5A Wright & Miller § 3914.10, at 664; cf. Puerto
Rico Aqueduct, 506 U.S., at 147, 113 S.Ct., at 689 (noting the argument for a distinction
between fact-based and law-based appeals, but seeing no “basis for drawing” it with
respect to the particular kind of order at hand); 15A Wright & Miller § 3914.10, at 85
(1995 Supp.). Johnson v Jones, 515 US 304, 317, 115 S Ct 2151, 2158, 132 L Ed 2d 238
[1995]

The case law in this area tells us unambiguously that there is no legal basis for
Murphy to appeal the summary judgment decision in this case. Given that, any appeal by
Murphy is necessarily frivolous. Regarding frivolous appeals, the court in Palmer v.
Goss held that “[w]here a district court determines that an appeal of a denial
of qualified immunity is frivolous, the court may proceed to trial even in the face of
an interlocutory appeal. See Palmer v. Goss, 2003 WL 225195454 (S.D.N.Y. 2003)
(emphasis added) (citing Apostol v. Gallion, 870 F.2d 1335, 1339 (7th Cir.1989);
Chuman y. Wright, 960 F.2d 104, 105 (9th Cir.1992); Yates v. City of Cleveland, 941
F.2d 444, 449 (6th Cir.1991); Stewart v. Donges, 915 F.2d 572, 576-78 (10th
Cir.1990); Bean v. City of Buffalo, 822 F.Supp. 1016, 1019 (W.D.N.Y.1993). It is thus
clear that a federal district court may proceed to trial on a case when it deems an appeal
to be frivolous.

In light of the above, we are asking that this Court find that defendant Murphy’s
appeal is frivolous and proceed to trial as previously ordered. It is our candid assessment
that the appeal sought by Murphy is being made in bad faith. The clear purpose of the
appeal is to delay the trial, and thereby create additional work and expense for Plaintiff.
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Murphy evidently hopes that by doing so, Plaintiff will decide that it is no longer worth
his time and effort to prosecute the case; that he will either abandon the case or agree to
settle at a tiny fraction of the actual value of the case. Murphy is mistaken in that belief.
It would make no sense to reward Murphy’s questionable tactics by postponing the trial
until after the appeal is concluded. We are, therefore, asking that the previously set
schedule for the trial in this matter be adhered to despite the appeal that is being
undertaken by defendant Murphy.

Very truly yours,

/S/
STEVEN H. GOLDMAN

Attorney for Tyre Davis
